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     TRAVELERS COMMERCIAL
7    INSURANCE COMPANY
8
9                          UNITED STATES DISTRICT COURT
10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     TRAVELERS COMMERCIAL             ) Case No.: 2:21-cv-5832-GW (PDx)
12   INSURANCE COMPANY, a             ) Hon. George H. Wu
     Connecticut corporation,         ) Hon. MJ Patricia Donahue
13                                    )
                 Plaintiff,           ) EX PARTE APPLICATION FOR
14                                    ) ORDER VACATING CURRENT
                  v.                  ) DEADLINES AND
15                                    ) TEMPORARILY STAYING CASE
     NEW YORK MARINE AND              ) PENDING CONCLUSION OF
16   GENERAL INSURANCE COMPANY, ) UNDERLYING ACTION OR,
     a Delaware corporation,          ) ALTERNATIVELY, EXTENDING
17                                    ) ALL CURRENT DATES AND
                 Defendant.           ) DEADLINES
18   ________________________________ )
                                      )
19   NEW YORK MARINE AND              ) Complaint Filed: July 20, 2021
     GENERAL INSURANCE COMPANY, ) Trial:                   January 3, 2023
20   a Delaware corporation,          )
                                      )
21               Counter-Claimant,    )
                                      )
22   TRAVELERS COMMERCIAL             )
     INSURANCE COMPANY, a             )
23   Connecticut corporation,         )
                                      )
24               Counter-Defendant.   )
                                      )
25                                    )
                                      )
26                                    )
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28

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1          To the Court and to defendant and counter-claimant New York Marine and
2    General Insurance Company’s (“ProSight”):
3          Plaintiff Travelers Commercial Insurance Company (“Travelers”) hereby
4    applies to the Court, ex parte, for the following relief, for the following reasons:
5          Introduction / Relief Requested
6          This is an insurance coverage case regarding an underlying high-profile
7    defamation case which is being tried now in Virginia. Travelers’ claim
8    professional is staying in a rented place in Virginia, not Minnesota where she lives
9    and works, in order to monitor the trial and to assist the insured and her attorneys,
10   full-time. The trial is expected to go until about May 27, seven weeks, and she
11   expects to remain there the entire time. Since she is not at her office, and she is
12   monitoring the trial and working with the defense team all day, she cannot
13   effectively assist Travelers in responding to detailed document and other discovery
14   from ProSight, which is due in two weeks. Travelers needs her help and, absent
15   relief from this Court, it cannot get it. Also, ProSight’s pending discovery probes
16   into privileged and otherwise confidential matters, the disclosure of which could
17   prejudice the insured in the ongoing underlying trial if not deferred until after the
18   conclusion of that trial.
19         Relief: To allow Travelers the fair ability to respond to discovery with the
20   essential assistance of the responsible claim professional, to prevent the risk of
21   prejudice to the insured, and to give ProSight access to as much discovery as
22   reasonable, Travelers seeks to briefly stay this insurance case and to vacate the
23   January 3, 2023, trial and the current deadlines until the conclusion of the trial in
24   the Underlying Action, and until a further order of the Court, to be entered in July.
25   Alternatively, Travelers requests that the Court order that all current deadlines and
26   dates are extended by six months.
27         There is Good Cause for this Relief
28         Both Travelers and ProSight cover a common insured for defamation claims.
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1    The Underlying Action has been, and continues to be, vigorously litigated by the
2    parties there, resulting in more than $8 million in attorneys’ fees and expenses.
3          The Underlying Action involves compelling privacy concerns of the parties’
4    mutual insured, it is a matter of media interest, and it is being litigated pursuant to
5    a protective order entered in that case. (See Exhibits 1 and 2, complaint and
6    protective order in Underlying Action; see also Declaration of Pamela A. Johnson,
7    paras. 3-8.)
8          Travelers and ProSight each have an obligation to protect their mutual
9    insured’s interest in maintaining her privacy, to the extent possible, and her right to
10   a fair and effective trial without risking public exposure of hyper-sensitive
11   information during trial.
12         In this case, ProSight has propounded written discovery to Travelers which
13   demands a copy of Travelers’ entire claim regarding the Underlying Action
14   (Exhibit 3, p. 7, Request no. 1). ProSight also demands copies of all
15   communications with defense counsel (Exhibit 3, p. 7, Requests nos. 3, 4, and 5).
16   Needless to say, these document demands implicate the insured’s right to privacy
17   as well as her attorney-client privilege. Travelers is on the inside of that privilege,
18   under the common interest doctrine, because it is supporting the defense. To the
19   extent that ProSight contends that it has no duty to defend the insured under the
20   circumstances of this case, its interests may not align with the insured’s interests,
21   and it may not be entitled to some privileged information. ProSight, in fact,
22   recently filed a counterclaim which contends just that: ProSight contends that it is
23   no longer obligated to contribute toward the insured’s defense, and even that it is
24   entitled to get back the money that it contributed as a partial payment toward the
25   defense. (See counterclaim, Dkt. 50, paras. 53-55, p. 29 of 32.) This position may
26   put ProSight outside of the insured’s privilege. The parties here may need input
27   from the insured’s attorneys and guidance from the Court on the issue. The issue
28   requires careful reflection; it cannot be rushed.
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1          For their part, ProSight’s interrogatories (Exhibit 4) and its requests for
2    admissions (Exhibit 5) probe deeply into Travelers’ contentions and the evidence
3    supporting them. (See, e.g., Exhibit 5 (interrogatories), pp. 4-6, nos. 2, 4, 5, 6, 7,
4    8, 9, 10, 12, 13, 14, and 16.) Some of the facts required to respond are uniquely
5    within the knowledge of one person, Pamela A. Johnson, the Travelers claim
6    professional responsible for this case from its inception. Travelers cannot
7    effectively respond to ProSight’s discovery—and it would be unfair to require it to
8    try—without the active participation of Ms. Johnson. As indicated above,
9    Ms. Johnson is tied up in Virginia through late May working the full-time job of
10   monitoring and supporting the defense in the underlying trial.
11         Ms. Johnson’s practical unavailability also affects Travelers’ ability to
12   respond to ProSight’s document demands. During this frenetic pre-trial and trial
13   period in the Underlying Action, the claim file has been and remains in constant
14   flux. Ms. Johnson’s assistance in ensuring that it is properly updated and
15   organized is essential to Travelers adequately responding to ProSight’s document
16   demands. She estimates that this will take days, if not weeks. Also, producing
17   Travelers’ claim material is a multi-step process. After Ms. Johnson updates the
18   claim file, Travelers’ internal e-discovery team will perform computer searches,
19   then it will provide the material to its outside e-discovery vendor to process; the
20   material will then be provided to counsel in this action for review and redaction,
21   and then counsel will produce it to ProSight. This process is time-consuming, it
22   takes place over weeks, and, again, it begins with days of work by Ms. Johnson,
23   who is not available to do that work while she is working with the trial team in
24   Virginia.
25         In sum, fairness to Travelers and fairness to the insured requires a pause in
26   this insurance case.
27
28         The current pertinent dates are:
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2         Deadline to Respond to
3                 ProSight Discovery:              May 2, 2022
4         Trial in the Underlying Action:          April 11, 2022 – (approx.) May 27, 2022
5
6         Discovery Cutoff:                        October 4, 2022
7         Mediation Cutoff:                        October 11, 2022
8         Post-Mediation Status Conference:        October 13, 2022
9         Expert Discovery Cutoff:                 November 4, 2022
10        Motion Hearing Cutoff:                   December 1, 2022
11        Pretrial Conference:                     December 22, 2022
12        Court Trial:                             January 3, 2023
13   Travelers requests that the Court vacate these deadlines and dates and stay this
14   case until further order of the Court, which Travelers proposes for July.
15   ProSight Opposes This Relief
16        ProSight opposes this request for a brief stay. ProSight also declined
17   Travelers’ request to extend the discovery response deadline to when Ms. Johnson
18   is back after the trial. (See Declaration of Mark D. Peterson, para. 3.) ProSight
19   has cited the October 4 discovery cut-off as a concern with putting off discovery.
20        Counsel for Travelers and ProSight have discussed this application and they
21   have not been able to resolve the issues here. (Peterson Dec., para. 3.) Thus, this
22   Court’s involvement is necessary.
23   Conclusion
24        Travelers needs, and it is entitled to, the active assistance of claim
25   professional Pamela A. Johnson to respond to ProSight’s wide-reaching discovery.
26   That isn’t possible until the trial in the Underlying Action is finished and she can
27   dedicate days to helping.
28        Moreover, discovery while the trial is pending implicates the insured’s rights
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1    to privacy, privilege with her attorneys, and a fair trial. These concerns can be
2    assessed better, and differently, when the trial is finished.
3          A brief stay of this action, eventually with a new set of litigation dates, is
4    called for. It won’t prejudice defendant ProSight at all: its opposition to this
5    application is tactical, and the Court should not condone it.
6          For all of these reasons, Travelers requests that the Court enter an order
7    which provides that:
8          1. The current dates set in this case, including the January 3, 2023, trial date,
9    are vacated;
10         2. This case, including discovery response deadlines, is stayed until further
11   order;
12         3. On July 28, 2022, or thereafter at the Court’s convenience, the Court will
13   hold a status and trial-setting conference;
14         4. One week prior to the status and trial-setting conference, the parties will
15   submit a proposed order with a new set of proposed deadlines and dates for this
16   case, for the Court to consider.
17   Dated: April 18, 2022
18                                           Respectfully submitted,
19
                                                /s/ Mark D. Peterson
20                                           MARK D. PETERSON
                                             Of CATES PETERSON LLP
21                                           Attorneys for Plaintiff
                                             TRAVELERS COMMERCIAL
22                                           INSURANCE COMPANY
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1                      DECLARATION OF PAMELA A. JOHNSON
2          I, Pamela A. Johnson, declare as follows:
3          1.     I am employed by Travelers, Inc. My title is Assistant Vice President |
4    Claim | Professional Intellectual Property - Business Torts. In this capacity, I provide
5    claim professional services to various companies, in the Travelers, Inc. family of
6    companies, including Travelers Commercial Insurance Company (“Travelers”). I
7    have been with Travelers, Inc. since 2015 and I have been a claim professional since
8    2005. Given my experience, I often handle some of the company’s most challenging
9    cases. I am making this declaration in support of Travelers’ ex parte application for a
10   stay of this action pending conclusion of the underlying action or, alternatively,
11   extending all current dates and deadlines.
12         2.     Travelers issued homeowners policy no. 601627108 634 1 to Amber
13   Heard for the policy period beginning November 14, 2018, and ending November 14,
14   2019 (the “Travelers Policy”).
15         3.     In March, 2019, Ms. Heard was sued for defamation by her former
16   husband Johnny Depp in John C. Depp, II, v. Amber Laura Heard, Fairfax County,
17   Virginia, Case No. 2019 02911 (“the Underlying Action”). Exhibit 1 is an accurate
18   copy of the complaint in the Underlying Action. The matter was tendered for defense
19   and indemnity to Travelers and, as well, to the defendant in this insurance action, New
20   York Marine and General Insurance Company’s (“ProSight”). At all times, I have
21   been the claim professional for Travelers with primary responsibility for handling the
22   defense of this case on behalf of Travelers.
23         4.     Travelers agreed to defend Ms. Heard, under a reservation of rights.
24   ProSight did the same.
25         5.     The Underlying Action has been very hotly litigated. Travelers has spent
26   more than $8 million in attorneys’ fees and expenses defending Ms. Heard. This has
27   included paying law firms in Virginia, New York, and California for extensive
28   discovery and other work.
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1          6.     This has been a very challenging and time-consuming case for the
2    litigants, the lawyers, and for me. It has required and it continues to require an
3    extraordinary commitment of my time and attention. Throughout the case, I have
4    been in frequent contact with Ms. Heard and her chosen attorneys who are defending
5    her. I have been an active part of the defense team.
6          7.     On April 11, 2022, trial began in the Underlying Action. The first week
7    of trial just finished. I was there every day. Trial is expected to go until about
8    May 27, seven weeks. I plan to continue to monitor the trial, in person, full-time. To
9    do this, I am staying in a rented place near the courthouse in Fairfax County, Virginia,
10   where I expect to stay the entire seven weeks. This is far from my home and office in
11   St. Paul, Minnesota. I am providing Travelers and ProSight with daily reports
12   regarding the progress of the trial. I also continue to support the defense team. This
13   week, for example, I was able to assist in getting an adverse witness disqualified by
14   discovering, via social media research, that she had been following the testimony of
15   other witnesses, when the Court had ordered that no witness could read or listen to any
16   part of the trial prior to their testimony. In short, my support role in Ms. Heard’s
17   defense is substantive. It also is ongoing.
18         8.     The Underlying Action has had great media interest. To help provide the
19   litigants with some privacy protection, the Court has entered a protective order.
20   Exhibit 2 is a true and accurate copy of the order. The existence of the protective
21   order has made me particularly cautious about sharing information about the case.
22         9.     In this insurance case, ProSight has served Travelers with: (1) document
23   demands, (2) requests for admissions, and (3) interrogatories. Accurate copies of
24   these are attached here as Exhibit 3 (the document demands), Exhibit 4 (the requests
25   for admissions, excluding the exhibits to it), and Exhibit 5 (the interrogatories).
26   Among other things, ProSight demands a copy of Travelers’ entire claim file
27   regarding the Underlying Action (Exhibit 3, p. 7, Request no. 1). ProSight also
28   demands copies of all communications with defense counsel (Exhibit 3, p. 7, Requests
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1    nos. 3, 4, and 5). These demands raise concerns on my part and Travelers’ part of the
2    insured’s right to privacy as well as her attorney-client privilege.
3          10.    ProSight’s interrogatories (Exhibit 4) and its requests for admissions
4    (Exhibit 5) probe Travelers’ contentions and the evidence supporting them. (See,
5    e.g., Exhibit 5 (interrogatories), pp. 4-6, nos. 2, 4, 5, 6, 7, 8, 9, 10, 12, 13, 14, and
6    16.) Some of the facts required to respond are uniquely within my knowledge.
7    Travelers cannot effectively respond to this discovery without my active
8    participation. As indicated above, I am tied up in Virginia, and I will be for the
9    next several weeks, estimated through May 27, with a full-time job monitoring the
10   underlying trial.
11         11.    My unavailability also affects Travelers’ ability to respond to
12   ProSight’s document demands. During the pre-trial and trial period, the claim file
13   has been in constant and substantial flux. I have work to do to ensure that it is
14   properly updated and organized prior to its production to ProSight. I estimate that
15   this will take days if not weeks on my part. Producing the claim material is a
16   multi-step process. After I update it, Travelers will perform computer searches,
17   through its internal e-discovery team, then it will provide the material to its outside
18   e-discovery vendor to process, then it will provide the material to our counsel in
19   this action for review and redaction, and then counsel will produce the documents
20   to ProSight, subject to redaction and objections. This process is time-consuming,
21   it takes place over weeks, and, again, it begins with days of work by me, which I
22   am not available to do while I am working full-time with the trial team in Virginia.
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1    12.   For all of these reasons, Travelers and I respectfully request that the Court
2    grant this application, and stay this insurance case for a few months.
3          I declare under penalty of perjury under the laws of the United States and the
4    State of California that the facts stated here are true and correct. I sign this
5    declaration on April 15, 2022, at Fairfax County, Virginia.
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7                                            ___
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9                                            __________________________
10                                           Pamela A. Johnson
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1                        DECLARATION OF MARK D. PETERSON
2          I, Mark D. Peterson, declare as follows:
3          1.     I am a partner with the law firm of Cates Peterson LLP. At all pertinent
4    times, I have been counsel of record for plaintiff Travelers Commercial Insurance
5    Company (“Travelers”) in this action. I am making this declaration in support of
6    Travelers’ ex parte application for a stay of this action pending conclusion of the
7    underlying action or, alternatively, extending all current dates and deadlines.
8          2.     ProSight has served Travelers with: (1) document demands, (2) requests
9    for admissions, and (3) interrogatories. Copies of these are attached here as Exhibit 3
10   (the document demands), Exhibit 4 (the requests for admissions), and Exhibit 5 (the
11   interrogatories). Among other things, ProSight demands a copy of Travelers’ entire
12   claim regarding the Underlying Action (Exhibit 3, p. 7, Request no. 1). ProSight also
13   demands copies of all communications with defense counsel (Exhibit 3, p. 7, Requests
14   nos. 3, 4, and 5). ProSight’s interrogatories (Exhibit 4) and its requests for admissions
15   (Exhibit 5) probe Travelers’ contentions and the evidence supporting them. (See, e.g.,
16   Exhibit 5 (interrogatories), pp. 4-6, nos. 2, 4, 5, 6, 7, 8, 9, 10, 12, 13, 14, and 16.) In
17   my opinion, some of the facts required to respond are uniquely within the knowledge
18   of Travelers’ claim professional Pamela A. Johnson and, thus, Travelers cannot
19   effectively respond to this discovery without her active participation. As indicated in
20   her declaration here, she is tied up in Virginia, and she will be for the next several
21   weeks straight, estimated through May 27, with a full-time job monitoring the
22   underlying trial and working with the defense team. Fairness to Travelers requires an
23   adjustment of the May 2 discovery deadlines and the other dates and deadlines to
24   allow her to finish the trial, spend time updating the claim file, and advance the
25   process for my document review and the production of the claim file and response to
26   the written discovery by Travelers.
27         3.     On March 25 and April 14, 2022, I spoke with James Wagoner, counsel
28   for defendant New York Marine and General Insurance Company’s (“ProSight”). In
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1    those calls and in exchanges of emails in between, I requested that ProSight agree to
2    stay this insurance action pending the conclusion of the trial in the Underlying Action.
3    Mr. Wagoner told me that ProSight would not agree to a stay. We also explored a
4    possible extension of the discovery response deadlines until after the trial.
5    Mr. Wagoner told that ProSight likewise would not agree to that; it granted only a two
6    week courtesy extension. ProSight cited the October 4, 2022, discovery cut-off in this
7    case as one reason that it would not agree.
8          4.     For all of these reasons and those cited in this ex parte application,
9    Travelers and I respectfully request that the Court grant this application, and stay this
10   insurance case for a few months.
11         I declare under penalty of perjury under the laws of the United States and the
12   State of California that the facts stated here are true and correct. I sign this
13   declaration on April 18, 2022, at Newport Beach, California.
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15                                           _____________________________
16                                           Mark D. Peterson
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